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                                Hearing Date: March 1, 2021 at 10:00 a.m. (Prevailing Eastern Time)
                        Objection Deadline: February 22, 2021 at 4:00 p.m. (Prevailing Eastern Time)

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Counsel for the Official Committee
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                               Chapter 11
THE DIOCESE OF ROCKVILLE CENTRE, NEW
YORK,                                                          Case No. 20-12345 (SCC)

                                 Debtor.



            MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS FOR ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY RULE
     2004 AUTHORIZING EXAMINATIONS AND PRODUCTION OF DOCUMENTS

         The Official Committee of Unsecured Creditors (the “Committee”) of The Diocese of

Rockville Centre, New York (the “Diocese” or the “Debtor”) in the above-captioned case (the

“Case”) under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”), by


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and through its undersigned counsel, hereby moves (the “Motion”) this Court for entry of an

order pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) authorizing the examination pursuant to Bankruptcy Rule 2004 of the Debtor. In

support of the Motion, the Committee respectfully states as follows:

                                     PRELIMINARY STATEMENT

        1.       The Debtor has admitted that there are colorable claims that it is conflicted from

pursuing on account of pre-petition transfers by the Debtor to entities related to the Debtor. The

Debtor attempted to circumvent this inherent conflict through the appointment of the

Independent Advisory Committee (“IAC”) to investigate, litigate and settle such claims.

However, the IAC’s appointment is legally flawed and unworkable because the IAC cannot settle

fraudulent transfer claims on behalf of the Debtor’s estate. Since the Debtor filed applications to

retain counsel and financial advisors on behalf of the IAC four months ago, there has been no

resolution of the IAC’s further role, if any, in this case.

        2.       In order to bridge this impasse and find the best way to move those colorable

claims forward, the Committee has repeatedly requested a copy of the IAC Report (defined

below). Despite these requests, the Committee has been provided with no information regarding

the pre-petition work completed by the IAC or the potential fraudulent transfer claims.

Additionally, the Debtor has been unable to resolve the issues with the IAC raised by the

Committee and the Court, including the statutory provisions limiting the IAC to an advisory role,

as well as the concern that the retention of additional professionals for the IAC is an unnecessary

drain of estate resources.1




1
  Official Committee of Unsecured Creditors’ Objection to the Retention Applications, Docket No. 103; see also
Declaration of James I. Stang (“Stang Decl.”), Ex. A (Transcript of 11/18/20 Hearing, 52:1–53:10).


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        3.       The Committee seeks information from the Debtor about the potential claims

investigated by the IAC and, reportedly, described in the IAC Report. The Committee seeks

information in order to assess, among other things, (a) the work performed by the IAC; (b)

whether the Debtor made any fraudulent transfers; (c) the appropriate mechanism for pursuing

the potential fraudulent transfer claims; and (d) whether any entities hold property for the

Debtor’s benefit (collectively, the “Investigation Matters”). The Committee seeks such

information in order to carry out its duties under section 1103 of the Bankruptcy Code in a cost-

effective manner and to work to maximize unsecured creditors’ recoveries in this Case.

        4.       Specifically, the Committee seeks the IAC’s report to the Diocese regarding its

analysis of the potential claims. Without the report, it is impossible for the Committee to

evaluate the work that has already been performed by the IAC and the potential future role for

the IAC in this Case. Additionally, the Committee seeks access to the information the IAC relied

on in drafting its report to conduct an independent analysis of the estate’s potential claims.

        5.       Through this Motion, the Committee seeks entry of an order, pursuant to

Bankruptcy Rule 2004, (i) requiring the Debtor to produce the IAC Report and (ii) authorizing

the Committee to issue subpoenas to the Debtor for information related to the Investigation

Matters.

                                                 RELEVANT FACTS2

A.      Background

        6.       On October 1, 2020 (the “Petition Date”), the Debtor commenced its Chapter 11

case by filing a voluntary petition for relief under Bankruptcy Code Chapter 11. Pursuant to


2
  Many facts described herein are Debtor’s own allegations and the Committee has not verified their validity and is
not admitting to their truth. In addition, as noted below, the Committee has thus far received little information
regarding the IAC’s investigation from the Debtor. As such, the Committee reserves the right to modify, clarify, or
amend any factual assertions in this Motion.


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sections 1107(a) and 1108 of the Bankruptcy Code, the Debtor continues to operate as debtor in

possession.

            7.        No trustee or examiner has been appointed in this case.

            8.        On October 16, 2020, the United States Trustee for Region 2 appointed the

Committee pursuant to section 1102 of the Bankruptcy Code. The Committee consists of nine

individuals who hold claims against the Debtor, including eight individuals who were sexually

abused as minors by perpetrators for whom the Debtor was responsible and one representative of

a minor with a civil rights claim against the Debtor.3

B.          The IAC’s Pre-Petition Activity

            9.        The Diocese appointed the IAC to “review certain transactions between the

Diocese and Diocese Affiliates outside the ordinary course of administration and support that the

Diocese provides to the Diocese Affiliates.”4 The IAC reportedly reviewed four transactions: (i)

the Diocese’s transfer of certain assets and all liabilities of its Cemetery Division to two separate

entities, the Cemetery Corporation and Cemetery Trust on September 1, 2017;5 “(ii) the January

2017 transfer of the real property parcel located in Huntington, New York to Seminary

Corporation; (iii) the September 2017 transfer of assets, operations and liabilities of the Diocesan

high schools to the Department of Education; and (iv) the 2018 transfer of $3 million to the

Catholic Foundation.”6




3
    See Notice of Appointment of Official Committee of Unsecured Creditors [Docket No. 71].
4
 Declaration of Charles Moore, Managing Director of Alvarez & Marsal North America, LLC, Proposed
Restructuring Advisor to the Roman Catholic Diocese of Rockville Centre, New York, In Support of Chapter 11
Petition and First Day Pleadings (the “Moore Decl.”) dated October 1, 2020 [Docket 3] at ¶ 121.
5
    Id.; see also id. ¶53.
6
    Id. ¶ 121.


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           10.       The IAC members were paid a fixed monthly fee of $25,000 for the chair and

$20,000 for the other two members since its appointment.7 Upon information and belief, the

IAC members are not currently being paid. The IAC hired Otterbourg P.C. (“Otterbourg”) as

its counsel and Goldin, a Teneo Company (“Goldin”) as its financial advisor.8 The IAC

accessed over 220,000 documents—including Diocese records, such as minutes, financial

statements, reports, and emails—and interviewed key Diocese personnel.9

C.         The IAC’s Report of Colorable Claims

           11.       On October 12, 2020, the Diocese filed applications on behalf of the IAC to retain

Otterbourg and Goldin as bankruptcy professionals.10 The Committee objected to the Retention

Applications.11

           12.       In its reply to the Committee’s objection, the Diocese stated that the “IAC has

independently determined . . . that the transfers it was charged with evaluating give rise to

colorable claims on behalf of the Diocese.”12

           13.       The IAC also filed a statement in support of the Retention Applications, stating

that it completed its “extensive investigation” in July 2020 and “advised the Diocese that it had

determined one or more colorable claims exist in favor of the Diocese arising from the Affiliate

Transactions.”13


7
    Id. ¶ 125.
8
    Id. ¶ 126.
9
    Id. ¶¶ 126–27.
10
  Application to Employ Otterbourg P.C. as Counsel to the Independent Advisory Committee, Docket No. 60
(“Otterbourg Application”); Application to Employ Goldin, A Teno Company as Financial Advisor to the
Independent Advisory Committee, Docket No. 61 (“Goldin Application” and, together with the Otterbourg
Application, “Retention Application”).
11
     Official Committee of Unsecured Creditors’ Objection to the Retention Applications, Docket No. 103.
12
     Debtor’s Reply in Support of the Retention Applications, Docket No. 150, p. 7 of 22.
13
     Statement of the IAC in Further Support of the Retention Applications, Docket No. 152, p. 2 of 16.


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           14.       At the November 18, 2020 omnibus hearing, Mr. Peter Feldman from Otterbourg

stated that in July or August 2020 “there was a report that was delivered by the IAC, a written

report by the IAC to the diocese” (the “IAC Report”).14

D.         The Diocese’s Reluctance to Disclose Information

           15.       On November 17, 2020, the Committee provided the Diocese with a list of

document requests, including three of the requests included on Exhibit A.15

           16.       On November 19, 2020, the Committee requested that Mr. Feldman, as counsel to

the IAC, provide the Committee a copy of the IAC Report.16 On November 20, 2020, Mr.

Feldman declined to produce the IAC Report and referred the Committee to the Diocese.17 On

November 23, 2020, the Committee requested that the Diocese provide the Committee a copy of

the IAC Report.18 The Committee never received a written response from the Diocese, but was

told in phone conversations that the Diocese would not produce the IAC Report.19

           17.       The Committee has received no additional information regarding the IAC’s work

or the underlying transfers.20

           18.       Given the Diocese’s proven reluctance to disclose information, the Committee is

hopeful that the Court’s authority, through an order authorizing the Committee to seek

information from the Diocese pursuant to Rule 2004, will avoid unnecessary delay and expense.




14
     Stang Decl., Ex. A (Transcript of 11/18/20 Hearing, 60:8–10).
15
     Stang Decl., Ex. B (11/17/20 Dine Email).
16
     Stang Decl., Ex. C (Letter to P. Feldman).
17
     Stang Decl., Ex. D (E-mail from P. Feldman).
18
     Stang Decl., Ex. E (Letter to C. Ball).
19
     Stang Decl., ¶ 10.
20
     Stang Decl., ¶ 11.


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                                          JURISDICTION

        19.      This Court has subject matter jurisdiction to consider this matter pursuant to 28

U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicate for the

relief sought herein are sections 1103 and 1109(b) of the Bankruptcy Code and Bankruptcy Rule

2004.

                                      RELIEF REQUESTED

        20.      The Committee respectfully requests entry of an order pursuant to Bankruptcy

Rule 2004 (i) requiring the Debtor to produce the IAC Report and all related exhibits,

attachments, and underlying documents; and (ii) authorizing the Committee to issue subpoenas

that direct production of Investigation Matters from the Debtor, substantially in the form annexed

hereto as Exhibit A (the “Request”).

                                       BASIS FOR RELIEF

        21.      Bankruptcy Rule 2004(a) provides that “[o]n motion of any party in interest, the

court may order the examination of any entity.” Bankruptcy Rule 2004(a). Bankruptcy Rule

2004 is primarily used for “revealing the nature and extent of the bankruptcy estate, and for

discovering assets, examining transactions, and determining what wrongdoing occurred.” In re

Kelton, 389 B.R. 812, 820 (Bankr. S.D. Ga. 2008); see also In re Lufkin, 255 B.R. 204, 208

(Bankr. E.D. Tenn. 2000) (Rule 2004’s purpose is to “determine the condition, extent, and

location of the debtor’s estate in order to maximize distribution to unsecured creditors”); In re

The Bennet Funding Group, Inc., 203 B.R. 24, 28 (Bankr. N.D.N.Y. 1996) (Rule 2004’s purpose

is to assist in “revealing the nature and extent of the estate, and to discover assets of the debtor

which may have been intentionally or unintentionally concealed”).



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        22.      Pursuant to Bankruptcy Rule 2004, a party in interest may seek both document

and oral discovery related to “acts, conduct, or property of the liabilities and financial condition

of the debtor, or to any matter which may affect the administration of the debtor’s estate, or to

the debtor’s right to a discharge.” Bankruptcy Rule 2004(b). Under Bankruptcy Rule 2004(c),

the “attendance of an entity for examination and the production of documents. . . may be

compelled in the manner provided in Rule 9016 for the attendance of witnesses at a hearing or

trial.” Bankruptcy Rule 2004(c). In turn, Bankruptcy Rule 9016 makes Federal Rule of Civil

Procedure 45 (governing subpoenas) applicable in cases under the Bankruptcy Code.

Bankruptcy Rule 9016.

        23.      Unlike discovery under the Federal Rules of Civil Procedure (the “Civil Rules”),

discovery under Bankruptcy Rule 2004 can be used as a “pre-litigation discovery device.” In re

Wilson, 2009 WL 304672, at *5 (Bankr. E.D. La. 2009); see also In re Hughes, 281 B.R. 224,

226 (Bankr. S.D.N.Y. 2002). As such, a Bankruptcy Rule 2004 motion need not be tied to

specific factual allegations at issue between parties. In re Symington, 209 B.R. 678, 683 (Bankr.

D. Md. 1997) (Bankruptcy Rule 2004 permits “examination of any party without the requirement

of a pending adversary proceeding or contested matter”).

        24.      Moreover, the scope of a Bankruptcy Rule 2004 examination is broader than that

of discovery under the Civil Rules or the Bankruptcy Rules governing adversary proceedings. In

re Ecam Publications, Inc., 131 B.R. 556, 559 (Bankr. S.D.N.Y. 1991); see also In re Drexel

Burnham Lambert Group, Inc., 123 B.R. 702, 711 (Bankr. S.D.N.Y. 1991) (“[T]he scope of a

Rule 2004 examination is very broad. Rule 2004 discovery is broader than discovery under the

Federal Rules of Civil Procedure.”). In fact, courts have recognized that Bankruptcy Rule 2004

examinations may be “broad” and “unfettered,” and can legitimately be in the nature of a



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“fishing expedition.” In re Countrywide Home Loans, Inc., 384 B.R. 373, 400 (Bankr. W.D. Pa.

2008); see also In re Lev, 2008 WL 207523, at *3 (Bankr. D.N.J. 2008); In re Bakalis, 199 B.R.

443, 447 (Bankr. E.D.N.Y. 1996); In re The Bennet Funding Group, Inc., 203 B.R. 24, 28

(Bankr. N.D.N.Y. 1996) (Rule 2004’s purpose is to assist in “revealing the nature and extent of

the estate, and to discover assets of the debtor which may have been intentionally or

unintentionally concealed”); In re Valley Forge Plaza Assocs., 109 B.R. 669, 674 (E.D. Pa.

1990). “Because the purpose of the Rule 2004 investigation is to aid in the discovery of assets,

any third party who can be shown to have a relationship with the debtor can be made subject to a

Rule 2004 investigation.” In re Ionosphere Clubs, Inc., 156 B.R. 414, 432, (Bankr. S.D.N.Y.

1993), aff’d, 17 F.3d 600 (2d Cir. 1994).

        25.      The decision whether to authorize the requested discovery rests within the

bankruptcy court’s sound discretion. See, e.g., In re Hammond, 140 B.R. 197, 200 (Bankr. S.D.

Ohio 1992). Courts authorize discovery under Bankruptcy Rule 2004 to assist in recovering

assets for the benefit of a debtor’s creditors. See In re Vantage Petroleum Corp., 34 B.R. 650,

651 (Bankr. E.D.N.Y. 1983) (allowing discovery under Rule 2004 to help the debtor “discover

and recover assets for benefit of creditors of the debtor”).

        26.      In addition, section 105(a) of the Bankruptcy Code authorizes the Court to “issue

any order . . . that is necessary or appropriate to carry out provisions of this title.” 11 U.S.C.

§ 105(a). The Committee’s investigation will, among other things, assist the Committee to fulfill

its statutory duty to “investigate the acts, conduct, assets, liabilities, and financial condition of

the [D]ebtor.” 11 U.S.C. § 1103(c)(2).

        27.      Here, the requested relief is well within the scope of Bankruptcy Rule 2004. The

Committee seeks to maximize creditors’ recoveries in this Case. As such, the Committee needs



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the information it seeks to properly evaluate the value of the potential transfer claims and the

IAC’s analysis of the claim after its yearlong investigation. The Committee cannot engage in

discussions regarding the future of the IAC and the prosecution of the potential claims without

the IAC Report and the underlying information.

        28.      Based on the foregoing, the Court should enter an order (i) requiring the Debtor to

produce the IAC Report and all related exhibits, attachments, and underlying documents and (ii)

authorizing the Committee to issue subpoenas (a) seeking Investigation Material from the

Diocese and (b) testimony regarding the Investigation Material.

                                          NO PRIOR REQUEST

        29.      No prior request for the relief sought in this Motion has been made to this or any

other Court.

                                              NOTICE

        30.      Notice of this Motion has been given to (a) the U.S. Trustee; (b) Counsel to the

Debtor; (c) all parties listed on the matrixes of creditors provided by the Debtor’s in these Cases;

and (d) all parties that filed a notice of appearance in these Cases as of the date hereof. In light of

the nature of the relief requested herein, the Committee submits that no other or further notice is

required.

        WHEREFORE, the Committee respectfully requests that this Court: (i) enter an order

substantially in the form attached hereto as Exhibit B, granting the relief sought herein; and (ii)

grant such other and further relief to the Committee as the Court may deem proper.

                                               PACHULSKI STANG ZIEHL & JONES LLP
Dated: New York, New York
       February 12, 2021
                                               /s/ James I. Stang
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                                          Diocese of Rockville Centre, New York




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                                                   EXHIBIT A

               Subpoena to The Roman Catholic Diocese of Rockville Centre, New York

                                             INSTRUCTIONS

        A.       You are required to conduct a thorough investigation and produce all Documents

(as defined below) in your possession, custody, and control including all Documents in the

possession, custody and control of your attorneys, investigators, experts, officers, trustees,

members, directors, employees, agents, representatives, and anyone acting on Your behalf.

        B.       The use of either the singular or plural shall not be deemed a limitation. The use

of the singular should be considered to include the plural and vice versa.

        C.       The words “and,” “or,” and “and/or” are interchangeable and shall be construed

either disjunctively or conjunctively or both, as broadly as necessary to bring within the scope of

the Request those responses that might otherwise be construed to be outside the scope.

        D.       If You are unable to comply with a particular category(ies) of the requests below

and Documents responsive to the category are in existence, state the following information:

                 1.         The date of the Document;
                 2.         The type of Document (e.g., letter, memorandum, report, etc.);
                 3.         The name, address, telephone number and title of the author(s) of the
                            Document;
                 4.         The name, address, telephone number and title of each recipient of the
                            Document;
                 5.         The number of pages in the Document;
                 6.         The document control number, if any;
                 7.         The present location(s) of the Document and the name, address and
                            telephone number of the person(s) who has (have) possession of the
                            Document;
                 8.         A specific description of the subject matter of the Document;
                 9.         The reason why the Document cannot be produced or why you are unable
                            to comply with the particular category of request.



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        E.        You are under a continuing duty to timely amend your written response and to

produce additional Documents if you learn that the response is in some material respect

incomplete or incorrect and if the additional or corrective information has not otherwise been

made known to the Plaintiff during the discovery process or in writing.

        F.        You are required to produce the full and complete originals, or copies if the

originals are unavailable, of each Document responsive to the categories below along with all

non-identical copies and drafts in its or their entirety, without abbreviations, excerpts, or

redactions. Copies may be produced in lieu of originals if the entirety (front and back where

appropriate) of the Document is reproduced and the Responding Party or its authorized agent or

representative states by declaration or affidavit under penalty of perjury that the copies provided

are true, correct, complete, and an accurate duplication of the original(s).

        G.        You are required to produce the Documents as they are kept in the usual course of

business or your operations, or to organize and label them to correspond with each category in

these requests.

        H.        You are required to produce Electronically Stored Information in searchable form.

        I.        For Documents that are currently in paper format:

                  1.        Documents must be scanned and produced electronically in single page
                            TIFF format with corresponding OPT file, DAT file, as well as OCR or
                            extracted text and .lst file.
                  2.        To the extent available, provide Beginning Production Number, Ending
                            Production Number, Folder information, custodian information and family
                            information.
        J.        For Documents that contain Electronically Stored Information, the following

guidelines are to apply:

                  1.        Single page, Group IV TIFFs with links to native files (for Excel or
                            similar spread sheet or accounting files, at a minimum) with


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                            corresponding OPT file, DAT file, as well as OCR or extracted text and
                            .lst file.
                 2.         Maintain family integrity.
                 3.         Perform custodian-level reduplication.
                 4.         Concordance standard delimited DAT load file with the following
                            metadata fields: Beginning Production Number, Ending Production
                            Number, Beginning Attachment Number, End Attachment Number,
                            Family ID, Page Count, Custodian, Original Location Path, Email Folder
                            Path, Document Type, Doc Author, Doc Last Author, Comments,
                            Categories, Revisions, File Name, File Size, MD5 Hash, Date Last
                            Modified, Time Last Modified, Date Created, Time Created, Date Last
                            Accessed, Time Last Accessed, Date Sent, Time Sent, Date Received,
                            Time Received, To, From, CC, BCC, Email Subject, Path to Native, Path
                            to Full Text, Original Time Zone.
                 5.         OCR or extracted text for all ESI: (a) Separate .txt files corresponding to
                            beginning production number of each document; (b) Separate .lst file for
                            fulltext.
                 6.         Process all data in GMT and provide a metadata field indicating original
                            time zone.
        K.       If you withhold or redact a portion of any Document under a claim of privilege or

other protection, each such Document must be identified on a privilege log, which shall be

produced contemporaneously with the non-privileged Documents responsive to this Request for

Production, and which privilege log shall state the following information:

                 1.         The date of the Document;
                 2.         The type of Document (e.g., letter, memorandum, report, etc.);
                 3.         The name, address, telephone number and title of the author(s) of the
                            Document;
                 4.         The name, address, telephone number and title of each recipient of the
                            Document;
                 5.         The number of pages in the Document;
                 6.         The document control number, if any;
                 7.         The present location(s) of the Document and the name, address and
                            telephone number of the persons) who has (have) possession of the
                            Document;




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                 8.         A general description of the subject matter of the Document or the portion
                            redacted without disclosing the asserted privileged or protected
                            communication;
                 9.         The specific privilege(s) or protection(s) that you contend applies.
        L.       Unless otherwise specified, the relevant time period to which each Request for

Production relates is October 1, 2010 through the date You produce Documents responsive to the

Requests.

                                              DEFINITIONS

        Unless otherwise stated, the following definitions shall apply to these Requests:

    1. “Bankruptcy Case” means and refers to the chapter 11 case of The Roman Catholic

Diocese of Rockville Centre, New York currently pending in the United States Bankruptcy Court

for the Southern District of New York under the case captioned as In re The Roman Catholic

Diocese of Rockville Centre, New York, Case No. 20-12345 (SCC).

    2. “Bankruptcy Code” means and refers to 11 U.S.C. §101 et seq. (as amended from time

to time).

    3. “Communications” means and includes all oral and written communications of any

nature, type or kind including, but not limited to, any Documents, telephone conversations,

discussions, meetings, facsimiles, e-mails, pagers, memoranda, and any other medium through

which any information is conveyed or transmitted.

    4. “Concerning” means and includes relating to, constituting, defining, evidencing,

mentioning, containing, describing, discussing, embodying, reflecting, edifying, analyzing,

stating, referring to, dealing with, or in any way pertaining to.

    5. “Debtor” or “Diocese” means and includes both the civil entity and Canon law juridic

person identified as The Roman Catholic Diocese of Rockville Centre, New York on its




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voluntary petition for chapter 11 relief, and any predecessor thereof, as well as any person

(including the bishop or apostolic administrator of the Diocese) acting on behalf of the Diocese.

    6. “Document” is used herein in the broadest possible sense as specified in and interpreted

under Rule 34 of the Federal Rules of Civil Procedure, and includes, without limitation, all

originals and copies, duplicates, drafts, and recordings of any written, graphic or otherwise

recorded matter, however produced, reproduced, or stored, and all “writings” as defined in Rule

1001 of the Federal Rules of Evidence, and all other tangible things by which human

communication is transmitted or stored, meaning any kind of printed, recorded, graphic, or

photographic matter, however printed, produced, reproduced, copies, reproductions, facsimiles,

drafts and both sides thereof, including without limitation any kind of written, typewritten,

graphic, photographic, printed, taped or recorded material whatsoever, regardless whether the

same is an original, a copy, a reproduction, a facsimile, telex or telefax, and regardless of the

source or author thereof, including without limitation, any writing filed for reporting or other

purposes with any state, federal or local agency; notes; memoranda, including but not limited to

memoranda of telephone conversations; letters; audited financial statements; unaudited financial

statements; financial ledgers; intra-office or inter-office communications; circulars; bulletins;

manuals; results of investigations; progress reports; study made by or for business or personal

use; financial reports and data of any kind; working papers; contracts; agreements; affidavits;

declarations; statements; bills; books of accounts; vouchers; transcriptions of conversations or

tape recordings; desk calendars; bank checks; purchase orders; invoices; charge slips; receipts;

expense accounts; statistical records; cost sheets; journals; diaries; time sheets or logs; computer

data; job or transaction files; appointment books; books, records, and copies; electronic mail

messages; extracts and summaries of other documents; drafts of any of the above, whether used



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or not; and any other writing or recording; computer and other business machine printouts,

programs, listings, projections, as well as any carbon or photographic or copies, reproductions or

facsimiles thereof and all copies which differ in any way from the original, including without

limitation, all forms of electronic media, data, data storage and other forms of electronic or

computer-stored or computer-generated communications, data, or representations. This includes,

but is not limited to, such material in the form of Electronically Stored Information: that is, any

data present in memory or on magnetic or optical storage media as an “active” file or files

(readily readable by one or more computer applications or forensics software), saved in an

archive, present as “deleted” but recoverable electronic files in memory or on any media, and,

present in any electronic file fragments (files that have been deleted and partially overwritten

with new data) from files containing such material. Where any otherwise duplicate document

contains any marking not appearing on the original or is altered from the original, then such item

shall be considered to be a separate original document. Any Document that contains any

comment, notation, addition, insertion or marking of any type or kind which is not part of

another Document, is to be considered a separate Document.

    7. “Electronically Stored Information” or “ESI” means, without limitation, all

information contained on any computing device owned, maintained, or otherwise controlled by

You, including, but not limited to, mainframe, desktop, laptop, tablet, or palmtop computers,

network servers, telephone voicemail servers, employees’ employer-provided home computers,

and the personal digital assistants (PDAs), digital cell phones, telephone answering machines,

pagers, or other information-storing electronic devices of You and Your employees, or on

associated external storage media, backup tapes, and other archival copies of same. Unless

otherwise specified, documents, reports, and other Electronically Stored Information created



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using any version of Microsoft Word, Powerpoint, Excel, Visio, or Access, Word Perfect,

Oracle, or any other Microsoft, Adobe, or other currently available “off-the-shelf” application

shall be produced in native form; that is, the form in which the document is currently stored on

whatever media it currently resides. The document should not be locked, resaved, restructures,

“scrubbed” of unapparent or hidden content or any other data or metadata, but rather should be

produced in a copy precisely reproducing its entire state as present in Your systems. Unless

otherwise specified, electronic mail (e-mail) should be produced in native form; that is, in

whatever database and/or file/directory structures are used by Your mail processing software.

All metadata and other unapparent or hidden data related to mail messages shall be produced,

including, but not limited to, any file attachments, message priority flags, message read/access

timestamps, and, in the case of e-mail sent to distribution lists, information on the membership of

such lists at the time the e-mail was sent.

    8. “Each” shall mean each and every.

    9. “Person” means and includes individuals and entities, civil or canonical, including, but

not limited to, communities, houses, ministries, regions, funds, missions, or apostolic

institutions, as those terms are used under the laws of the Roman Catholic Church, for profit and

not for profit corporations, partnerships, unincorporated associations, limited liability companies,

trusts, firms, cooperatives, fictitious business names, educational institutions, governmental

agencies whether local, state, or federal, and any and all of their agents, representatives,

employees, predecessors, and/or any other Person acting on its/their behalf or subject to its/their

control.

    10. “You”, “Your”, and “Yours” means and refers to the Responding Party.




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                              REQUESTS FOR PRODUCTION

    1. All documents produced to or reviewed by the Independent Advisory Committee
       (“IAC”).

    2. All communications between the Diocese and the IAC, including the IAC’s report on
       potentially colorable claims from July or August 2020.

    3. Documents regarding any interviews conducted by the IAC.

    4. All reports prepared by the IAC and provided to the Debtor.




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                         EXHIBIT B
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                                          Chapter 11
THE DIOCESE OF ROCKVILLE CENTRE, NEW
YORK,                                                                     Case No. 20-12345 (SCC)

                                      Debtor.




        ORDER AUTHORIZING THE OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS TO OBTAIN DISCOVERY PURSUANT TO BANKRUPTCY RULE 2004

           This matter coming before the Court on the Motion of the Official Committee of

Unsecured Creditors (the “Committee”) of The Diocese of Rockville Centre, New York for entry

of an order, pursuant to Bankruptcy Rule 2004, authorizing the examination pursuant of the

Debtor (the “Motion”);1 the Court having reviewed and considered the Motion and

accompanying papers; the Court having found that (i) the Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334, (ii) this is a core proceeding pursuant to 28 U.S.C. §

157(b)(2), and (iii) notice of the Motion as described in the Motion was proper under the

circumstances; and the Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and after due deliberation and good and

sufficient cause appearing therefor, it is hereby ORDERED that

                    1.       The Motion is GRANTED.

                    2.       The Debtor will produce to the Committee the IAC Report and all related

exhibits, attachments, and underlying documents within thirty days of entry of this order.




1
    Capitalized terms not defined herein shall have the meanings and definitions ascribed to them in the Motion.

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                 3.         The Committee is authorized to, in its discretion, seek examinations of the

Debtor with respect to Investigation Material pursuant to Bankruptcy Rule 2004 substantially as

described in the Requests attached as Exhibit A to the Motion.

                 4.         The Committee is authorized to issue subpoenas directing production of

the Investigation Material pursuant to Rule 2004 on the Debtor.

                 5.         The Committee may issue other discovery requests and subpoenas as may

be necessary to accomplish the discovery authorized by this Order.

                 6.         Nothing contained herein shall prejudice the Committee’s rights under

Bankruptcy Rule 2004 and other applicable laws to seek further document productions and

written and oral examinations in connection with these Cases.

                 7.         The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation of this Order.




Dated: New York, New York                     _______________________________________
       March __, 2021                         THE HONORABLE SHELLEY C. CHAPMAN
                                              UNITED STATES BANKRUPTCY JUDGE




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